                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

 IN RE:                                            )
 James Fortenberry,                                )       Case No. 21-81169-CRJ7
                                                   )
        Debtor(s).                                 )       Chapter 7

    BANKRUPTCY ADMINISTRATOR’S RECOMMENTATION ON APPLICATIONS TO
                       EMPLOY SPECIAL COUNSEL

       COMES NOW the United States Bankruptcy Administrator for the Northern District of
 Alabama, by and through the undersigned counsel of record, and regarding the applications to
 employ special counsel states as follows:

        1. The Bankruptcy Administrator has reviewed the application to employ J Brent
           Burney & Burney & Burney, LLC (Doc. 27) and Phil D. Mitchell, Esq. & Harris,
           Caddell & Shanks, PC (Doc. 28) (Applicants) as special counsel to pursue a personal
           injury case and finds the same complies with the requirements of 11 U.S.C. §327(e)
           and Rule 2014 of the Federal Rules of Bankruptcy Procedure.

        2. The Applicants seek to be employed at a total contingency fee of 40% of any
           recovery plus expenses. This Court has routinely limited contingency fees in in
           personal injury cases to 33 1/3% of any recovery. The Bankruptcy Administrator
           recommends that the Applicant only be approved at a 33 1/3% contingency fee plus
           expenses absent a showing that the higher fee is warranted.

        3. The Applicants have affirmed that no agreement for sharing compensation exists
           outside of each law firm.


        WHEREFORE, the premises considered, Bankruptcy Administrator recommends that the
 applications to employ special counsel only be approved if Applicants reduce the total
 contingency fee charged to 33 1/3% plus expenses, or upon a showing that the higher
 contingency fee is warranted for the type of case involved.

        Respectfully submitted March 31, 2022.

                                            J. THOMAS CORBETT
                                            United States Bankruptcy Administrator for the
                                            Northern District of Alabama
                                            /s/ Richard M. Blythe
                                            Richard M. Blythe
                                            Assistant U.S. Bankruptcy Administrator
                                            Alabama Bar ID: ASB-3199-B52R

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 OF COUNSEL:
 United States Bankruptcy Administrator
 Northern District of Alabama
 Seybourn H. Lynne Federal Building
 P.O. Box 3045
 400 Well Street NE. Room 236
 Decatur, Alabama 35602
 (256) 340-2740

                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 31, 2022, I have served a copy if the foregoing on the
 parties listed below by electronic service through the Court’s CM/ECF system and/or by placing
 a copy of the same in the U.S. Mail, postage prepaid.

 Tazewell Shepard, Esq., Trustee, Via CM/ECF electronic service

 John C. Larsen, Esq., Attorney for the Debtor, Via CM/ECF electronic service

 J Brent Burney, Esq.,Proposed Special Counsel for the Debtor, Via CM/ECF electronic service

 Phil D. Mitchell, Esq.,Proposed Special Counsel for the Debtor, Via CM/ECF electronic service

                                             /s/Richard M. Blythe
                                             Richard M. Blythe




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